               Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 1 of 44



CUNEO GILBERT & LADUCA, LLP
Charles J. LaDuca Katherine Van Dyck
4725 Wisconsin Avenue, NW, Suite 200
Washington, DC 20016
Tel: (202) 789-3960
Fax: (202) 789-1813
charlesl@cuneolaw.com kvandyck@cuneolaw.com

THE SULTZER LAW GROUP P.C.
Jason P. Sultzer, Esq. (Bar ID #: JS4546)
85 Civic Center Plaza, Suite 104
Poughkeepsie, NY 12601
Tel: (845) 483-7100
Fax: (888) 749-7747
sultzerj@thesultzerlawgroup.com

HALUNEN LAW
Amy E. Boyle (admitted pro hac vice)
1650 IDS Center
80 South Eight Street Minneapolis, MN 55402
Telephone: (612) 605-4098
Facsimile: (612) 605-4099 boyle@halunenlaw.com

                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 Tanya Mayhew, Tanveer Alibhai, and Tara Festa,        :
 individually on behalf of themselves and all others        Case No. 16 CV 6981 (VB)
 similarly situated,                                   :
                                                       :  MEMORANDUM OF LAW IN
 Plaintiffs,                                           :   SUPPORT OF PLAINTIFFS’
 v.                                                    : MOTION FOR FINAL APPROVAL
                                                       :    OF THE CLASS ACTION
                                                       :         SETTLEMENT
 KAS DIRECT, LLC and S.C. JOHNSON & SON,               :
 INC.,                                                 :
 Defendants.
            Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 2 of 44



                                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES ........................................................................................................ III

I.       INTRODUCTION .............................................................................................................. 1

II.      BACKGROUND OF THE LITIGATION.......................................................................... 2

III.     TERMS OF THE PROPOSED SETTLEMENT ................................................................ 4

         A.        THE SETTLEMENT PROVIDES FOR SUBSTANTIAL MONETARY AND
                   INJUNCTIVE RELIEF .................................................................................................. 4

                   1.         Settlement Fund. ......................................................................................... 4

                   2.         Injunctive Relief. ......................................................................................... 5

         B.        THE PROPOSED NOTICE PLAN. ................................................................................. 6

IV.      THE PROPOSED SETTLEMENT IS FAIR, REASONABLE, AND
         ADEQUATE AND WARRANTS FINAL APPROVAL ................................................... 7

         A.        LEGAL STANDARD ................................................................................................... 7

         B.        THE SETTLEMENT IS PROCEDURALLY FAIR.............................................................. 8

         C.        THE PROPOSED SETTLEMENT IS SUBSTANTIVELY FAIR.......................................... 10

                   1.         The Complexity, Expense, and Likely Duration of the Litigation ............. 11

                   2.         The Reaction of the Settlement Class ........................................................ 12

                   3.         The Stage of the Proceedings and the Amount of Discovery
                              Completed .................................................................................................. 14

                   4.         The Range of Reasonableness of the Settlement in Light of the Best
                              Possible Recovery and Risks of Litigation. ............................................... 15

                   5.         The Risks of Maintaining Class Action Status Through Trial .................. 22

                   6.         The Ability of Defendant to Withstand a Greater Judgment..................... 23

V.       THE COURT SHOULD CONFIRM CERTIFICATION OF THE SETTLEMENT
         CLASS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 23 .................... 24

         A.        LEGAL STANDARD ................................................................................................. 24

         B.        THE SETTLEMENT CLASS SATISFIES FEDERAL RULE OF CIVIL PROCEDURE
                   23(A)...................................................................................................................... 25


                                                                      i
         Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 3 of 44



       C.        THE SETTLEMENT CLASS MEETS THE REQUIREMENTS OF FEDERAL RULE OF
                 CIVIL PROCEDURE 23(B)(3) ................................................................................... 28

       D.        THE CLASS CLAIMS SATISFY THE PREREQUISITES OF RULE 23(B)(2). .................. 31

VI.    THE CLASS NOTICE SATISFIES THE REQUIREMENTS OF FEDERAL
       RULE OF CIVIL PROCEDURE 23 AND OF DUE PROCESS ..................................... 32

       A.        THE DISTRIBUTION AND TIMING OF THE NOTICE SATISFY FEDERAL RULE OF
                 CIVIL PROCEDURE 23 AND THE U.S. CONSTITUTION.............................................. 32

       B.        THE CONTENT OF THE NOTICE AND THE OPPORTUNITY TO OPT OUT SATISFY
                 FEDERAL RULE OF CIVIL PROCEDURE 23 AND THE U.S. CONSTITUTION ................ 35

VII.   CONCLUSION ................................................................................................................. 36




                                                                ii
         Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 4 of 44



                                            TABLE OF AUTHORITIES

Cases

  Ackerman v. Coca-Cola Co., No. 09 CV 395 DLI RML, 2013 U.S. Dist. LEXIS
     184232 (E.D.N.Y. July 18, 2013) .............................................................................. 19, 23

  Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997) ........................................ 24, 27, 28, 30

  Bodon v. Domino’s Pizza, LLC, No. 09-CV-2941 SLT, 2015 U.S. Dist. LEXIS 17358
     (E.D.N.Y. Jan. 16, 2015) .................................................................................................. 18

  Bravo v. Palm W. Corp., No. 14 9193 SN, 2015 U.S. Dist. LEXIS 135123 (S.D.N.Y.
     Sept. 30, 2015) .................................................................................................................. 30

  Brazil v. Dole Packaged Foods, LLC, 660 Fed. App’x 531 (9th Cir. 2016) .................... 16, 26

  Brown v. Hain Celestial Grp., Inc., No. 11-cv-03082, 2014 U.S. Dist. LEXIS 162038
     (N.D. Cal. Nov. 18, 2014)................................................................................................. 26

  Charron v. Pinnacle Group N.Y. LLC, 269 F.R.D. 221 (S.D.N.Y. 2010) .............................. 31

  Charron v. Pinnacle Grp. N.Y. LLC, 874 F. Supp. 2d 179 (S.D.N.Y. 2012) ......................... 13

  Charron v. Wiener, 731 F.3d 241 (2d Cir. 2013) ............................................................... 7, 27

  City of Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974), abrogated on other
      grounds by Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000) ......... 7, 10, 22

  City of Providence v. Aeropostale, Inc., No. 11 CIV. 7132 CM GWG, 2014 U.S. Dist.
      LEXIS 64517 (S.D.N.Y. May 9, 2014) ............................................................................ 17

  Consol. Rail Corp. v. Town of Hyde Park, 47 F.3d 473 (2d Cir. 1995) ................................. 25

  D.S. v. New York City Dep’t of Educ., 255 F.R.D. 59 (E.D.N.Y. 2008)................................. 14

  D’Amato v. Deutsche Bank, 236 F.3d 78 (2d Cir. 2001) ................................................ 7, 9, 12

  DeLeon v. Wells Fargo Bank, N.A., No. 1:12-CV-04494, 2015 U.S. Dist. LEXIS
     65261 (S.D.N.Y. May 11, 2015)....................................................................................... 14

  Denney v. Jenkens & Gilchrist, 230 F.R.D. 317 (S.D.N.Y. 2005) ......................................... 30

  Eisen v. Carlisle & Jacquelin, 417 U.S. 156 (1974)............................................................... 33

  Fleisher v. Phoenix Life Ins. Co., No. 11-CV-8405 (CM), 2015 U.S. Dist. LEXIS
      121574 (S.D.N.Y. Sept. 9, 2015) ............................................................................... passim




                                                                 iii
       Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 5 of 44



Goldemberg v. Johnson & Johnson Consumer Cos., 2016 U.S. Dist. LEXIS 137780
   (S.D.N.Y. Oct. 4, 2016)............................................................................................... 11, 23

Greenspun v. Bogan, 492 F.2d 375 (1st Cir. 1974) ................................................................ 34

Grunin v. Int’l House of Pancakes, 513 F.2d 114 (8th Cir. 1975) ..................................... 34

Hecht v. United Collection Bureau, Inc., 691 F.3d 218 (2d Cir. 2012) .................................. 32

Hughes v. The Ester C Co., 317 F.R.D. 333 (E.D.N.Y. 2016) ................................... 16, 19, 22

In re Austrian & German Bank Holocaust Litig., 80 F. Supp. 2d 164 (S.D.N.Y. 2000).. 11, 24

In re Avon Anti-Aging Skincare Creams & Prod. Mktg. & Sales Practices Litig., No.
    13-CV-150 JPO, 2015 U.S. Dist. LEXIS 133484 (S.D.N.Y. Sept. 30, 2015) .................. 19

In re Bear Stearns Companies, Inc. Sec., Derivative, & ERISA Litig., 909 F. Supp. 2d
    259 (S.D.N.Y. 2012) ........................................................................................................... 9

In re Drexel Burnham Lambert Grp., Inc., 960 F.2d 285 (2d Cir. 1992) ............................... 27

In re Hi-Crush Partners L.P. Sec. Litig., No. 12-CIV-8557 CM, 2014 U.S. Dist.
    LEXIS 177175 (S.D.N.Y. Dec. 19, 2014) ................................................................. passim

In re Marsh & McLennan Companies, Inc. Sec. Litig., No. 04 CIV. 8144 (CM), 2009
    U.S. Dist. LEXIS 120953 (S.D.N.Y. Dec. 23, 2009) ....................................................... 34

In re Nassau Cty. Strip Search Cases, 461 F.3d 219 (2d Cir. 2006) ...................................... 29

In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 986 F. Supp. 2d
    207 (E.D.N.Y. 2013) ......................................................................................................... 22

In re Prudential Sec. Inc. Ltd. Partnerships Litig., 163 F.R.D. 200 (S.D.N.Y. 1995) ............. 7

In re Scotts EZ Seed Litig., 304 F.R.D. 397 (S.D.N.Y. 2015) .......................................... 23, 29

In re Scotts EZ Seed Litig., No. 12 CV 4727 VB, 2015 U.S. Dist. LEXIS 127844
    (S.D.N.Y. July 7, 2015) .................................................................................................... 33

In re Sony SXRD Rear Projection Television Class Action Litig., No. 06 Civ.
    5173(RPP), 2008 U.S. Dist. LEXIS 36093 (S.D.N.Y. May 1, 2008) ............................... 15

Jermyn v. Best Buy Stores, L.P., 256 F.R.D. 418 (S.D.N.Y. 2009). ....................................... 25

Johnson v. Brennan, No. 10 CIV. 4712 CM, 2011 U.S. Dist. LEXIS 105775
   (S.D.N.Y. Sept. 16, 2011) ................................................................................................. 15

Kurtz v. Kimberly-Clark Corp., 320 F.R.D. 104 (E.D.N.Y. 2017) ......................................... 23



                                                              iv
       Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 6 of 44



Langan v. Johnson & Johnson Consumer Companies, Inc., No. 13-cv-1470, 2017
   U.S. Dist. LEXIS 35703 (D. Conn. Mar. 13, 2017) .......................................................... 26

Maley v. Del Glob. Techs. Corp., 186 F. Supp. 2d 358 (S.D.N.Y. 2002) ........................ 12, 27

Manley v. Midan Rest. Inc., No. 14 CIV. 1693 (HBP), 2016 U.S. Dist. LEXIS 43571
  (S.D.N.Y. Mar. 30, 2016) ..................................................................................... 12, 27, 29

Marisol A. v. Giuliani, 126 F.3d 372 (2d Cir. 1997) .............................................................. 27

Matheson v. T-Bone Rest., LLC, No. 09 CIV. 4214 DAB, 2011 U.S. Dist. LEXIS
   143773 (S.D.N.Y. Dec. 13, 2011) .................................................................................... 15

McReynolds v. Richards-Cantave, 588 F.3d 790 (2d Cir. 2009) ........................................ 8, 10

Meredith Corp. v. SESAC, LLC, 87 F. Supp. 3d 650 (S.D.N.Y. 2015) ........................... passim

Miller v. Republic Nat. Life Ins. Co., 559 F.2d 426 (5th Cir. 1977) ....................................... 34

Morris v. Affinity Health Plan, Inc., 859 F. Supp. 2d 611 (S.D.N.Y. 2012) ............................ 8

Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306 (1950)....................................... 32

Phillips Petroleum Co. v. Shutts, 472 U.S. 797 (1985) .......................................................... 32

Raniere v. Citigroup Inc., 310 F.R.D. 211 (S.D.N.Y. 2015) ........................................ 8, 12, 17

Reyes v. Altamarea Grp., LLC, No. 10-CV-6451 RLE, 2011 U.S. Dist. LEXIS
   115982 (S.D.N.Y. June 3, 2011)......................................................................................... 9

Ries v. Arizona Beverages USA LLC, No. 10-01139 RS, 2013 U.S. Dist. LEXIS
   46013 (N.D. Cal. Mar. 28, 2013) ...................................................................................... 16

Robidoux v. Celani, 987 F.2d 931 (2d Cir. 1993) ................................................................. 26

Rodriguez v. It’s Just Lunch, Int’l, 300 F.R.D. 125 (S.D.N.Y. 2014) .................................... 23

Shahriar v. Smith & Wollensky Rest. Grp., 659 F.3d 234 (2d Cir. 2011) ............................... 29

Shapiro v. JPMorgan Chase & Co., No. 11 CIV. 7961 CM, 2014 U.S. Dist. LEXIS
   37872 (S.D.N.Y. Mar. 24, 2014) .................................................................................. 7, 11

Sullivan v. DB Invs., Inc., 667 F.3d 273 (3d Cir. 2011).......................................................... 30

Sykes v. Mel Harris & Associates, LLC, 285 F.R.D. 279 (S.D.N.Y. 2012) ........................... 25

Tart v. Lions Gate Entm’t Corp., No. 14-CV-8004 AJN, 2015 U.S. Dist. LEXIS
   139266 (S.D.N.Y. Oct. 13, 2015) ............................................................................... 30, 31



                                                          v
         Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 7 of 44



  Tiro v. Pub. House Investments, LLC, No. 11 CIV. 7679 CM, 2013 U.S. Dist. LEXIS
      72826 (S.D.N.Y. May 22, 2013)......................................................................................... 9

  Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036 (2016) .................................................... 29

  Viafara v. MCIZ Corp., No. 12 CIV. 7452 RLE, 2014 U.S. Dist. LEXIS 60695
     (S.D.N.Y. May 1, 2014) .................................................................................. 12, 14, 17, 22

  Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011) ............................................................ 25

  Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96 (2d Cir. 2005) .......................... passim

  Zeltser v. Merrill Lynch & Co., Inc., No. 13 Civ. 1531(FM), 2014 U.S. Dist. LEXIS
      135635 (S.D.N.Y. Sept. 23, 2014) .................................................................................... 22

Rules

  Fed. R. Civ. P. 23 .................................................................................................... 7, 25, 31, 35




                                                                vi
         Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 8 of 44



       Plaintiffs Tanya Meyhew, Tanveer Alibhai, and Tara Festa (“Plaintiffs”), individually and

on behalf of all others similarly situated, respectfully submit this memorandum of law in support

of their Motion for Final Approval of the Parties’ Settlement Agreement.

I.     INTRODUCTION

       Plaintiffs and Defendants KAS Direct, LLC and S.C. Johnson & Son, Inc., through their

counsel (collectively, “the Parties”), have negotiated a proposed settlement that provides

substantial benefits to a proposed nationwide class of persons in the United States who purchased

Babyganics Products during the Class Period (the “Settlement Class” or “Class Members”). As a

result of the First Amended Settlement Agreement (“Amended Settlement Agreement”) (attached

to the Declaration of Jason Sultzer (“Sultzer Decl.”) as Exhibit 1), numerous changes will be made

to the labels of millions of Products including a front of the label disclaimer clarifying the use of

the term “Babyganics,” a form of injunctive relief which is very rare in product labeling consumer

protection cases. Defendants will also remove the word “natural” from the front label of all

Covered Products, clarify on the labels which ingredients in the Products are organic and which

are not, define “mineral-based” on Defendant’s website, conduct batch testing of covered

sunscreen Products, and provide clarifications on the label of certain “tear-free” Products regarding

the use and safety of those products.

       In addition to this extensive injunctive relief, the Amended Settlement also provides for

substantial monetary relief for members of the Class. Class Members will be compensated from

a Settlement Fund totaling $2,215,000. (Ex. 1, Amended Settlement Agreement § IV.A.1.) Class

Members with proof of purchase are entitled to reimbursement of the purchase price stated on the

receipt for any Covered Product, and Class Members without proof of purchase will be able to

receive up to 50 percent of the purchase price and sometimes more. (Id. § IV.B.1 and 2.)




                                                 1
         Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 9 of 44



       The Settlement was reached after thorough investigation by Plaintiffs, an exchange of

pertinent information, and extensive arm’s-length negotiations, including one mediation session

with David Rotman of Gregorio, Haldeman & Rotman in San Francisco and two mediation

sessions with Michael Young of JAMS in New York as well as multiple telephone calls and in-

person meetings to discuss settlement terms. Plaintiffs submit this motion for final approval to

bring closure to this matter. (Sultzer Decl. ¶¶ 10 and 11.)

       For all of the reasons set forth herein, Plaintiffs respectfully apply to this Court for entry

of an order (i) confirming certification of the Settlement Class and continuing the appointment of

Tanya Meyhew, Tanveer Alibhai, and Tara Festa as representatives of the Settlement Class and

Cuneo Gilbert & LaDuca, LLP, Halunen Law, and The Sultzer Law Group, P.C. as Class Counsel;

(ii) granting Final Approval of the Settlement; and (iii) entering the Order and Final Judgment in

this Action.

II.    BACKGROUND OF THE LITIGATION

       The filing of the Class Action Complaint was preceded by a year of efforts by the parties to

resolve their dispute. Counsel for Plaintiffs first sent a settlement demand letter and proposed

complaint to KAS on November 20, 2015, in accordance with California’s Consumer Legal

Remedies Act (“CLRA”) (Sultzer Decl. ¶ 8.) Plaintiffs filed this Action on September 7, 2016,

alleging that Defendant KAS Direct, LLC’s (“KAS”) use of the name “Babyganics” on a wide

range of products and the term “Mineral-Based” on a number of its Sunscreens constituted

fraudulent, unfair, unlawful, and deceptive business practices, in violation of the laws of the States

of California and New York. (Dkt. 1, Class Action Compl. at ¶¶ 2-6.) Plaintiffs sought both

injunctive and monetary relief. (Id. at ¶ 77.) The Parties corresponded for several months

thereafter regarding potential settlement and ultimately agreed to a mediation with David Rotman

of Gregorio, Haldeman & Rotman in San Francisco on August 10, 2016. (Sultzer Decl. ¶ 10.)


                                                  2
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 10 of 44



Plaintiffs initiated the instant lawsuit the following month. (Dkt. 1.) However, the Parties

continued to discuss the potential for an early settlement and agreed to attend a mediation on March

30, 2017 with Michael Young of JAMS in New York. (Sultzer Decl. ¶ 11.) Before the second

mediation, Defendants produced, pursuant to a Protective Order/Confidentiality Agreement,

certain sales and marketing information to enable Class Counsel and Plaintiffs to better evaluate

settlement. (Id. ¶ 9.) The Parties also had numerous conversations, including two in-person

meetings and several telephone calls, before the second mediation. (Id. ¶ 13.) Counsel for

Plaintiffs and Defendants attended the mediation along with a representative of Defendants. (Id.

¶ 11.) Though the parties did not reach an agreement that day, they continued arm’s-length

settlement discussions and ultimately reached a resolution on or about May 31, 2017. (Id.) For

nearly eight weeks thereafter, the Parties continued to negotiate the terms of the Settlement. (Id.)

Plaintiffs filed their First Amended Class Action Complaint on August 4, 2017, naming S.C.

Johnson as a Defendant. (Dkt. 37.) The same day, the Parties filed for Preliminary Approval of the

Joint Stipulation of Settlement. (Dkt. 38.)

       Thereafter, three groups of Proposed Intervenors filed Motions to Intervene: (1) on August

11, 2017, Proposed Intervenors Skeen, Blanusa, Brown, Vidal, and Timmermeier (“Tear Free

Intervenors”) filed a Motion to Intervene (Dkt. 50); (2) on August 18, 2017, Proposed Intervenor

Machlan filed a Motion to Intervene (Dkt. 52); and (3) on August 25, 2017, Proposed Intervenors

Carroll, Exo, Ryden, and Shaffer (“SPF Intervenors”) filed a Motion to Intervene (Dkt. 56). After

the Proposed Intervenors filed their motions, the Parties participated in a third in-person mediation

with Mr. Young on October 5, 2017, at which all intervenors were invited to participate (only

counsel for Proposed Intervenor Machlan attended). Afterward, the parties advised the Court they

intended to amend their motion for preliminary approval of the settlement agreement to address




                                                 3
           Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 11 of 44



the proposed intervenors’ claims. On October 23, 2017, the Court denied without prejudice the

Motions to Intervene and set a deadline of December 1, 2017 for any renewed motions to intervene

or oppose the preliminary settlement approval. (Dkt. 96.)

       Plaintiffs filed their renewed motion for preliminary approval on November 21, 2017 (Dkt.

99), and only the Tear Free Intervenors renewed their motion to intervene (Dkt. 113). On June

26, 2018, the Court denied the Tear Free Intervenors’ motion to intervene and granted preliminary

approval of the Amended Settlement Agreement on the condition that the Parties make certain

amendments to the Class Notice. (Dkt. 116.) On July 10, 2018, the Court approved the Parties’

changes to the long-form and short-form notices to the Class Members. (Dkt. 118.)

III.   TERMS OF THE PROPOSED SETTLEMENT

       A.       The Settlement Provides for Substantial Monetary and Injunctive Relief

                1.    Settlement Fund.

       The Proposed Settlement provides that Defendants shall establish a Settlement Fund in the

amount of $2,215,000, which shall be used to pay Eligible Claims. (Sultzer Decl. Ex. 1, Amended

Settlement Agreement § IV.A.1.) The Proposed Settlement offers each eligible Settlement Class

member the following:

       First, Settlement Class Members shall be entitled to a cash refund in the amount of 100

percent of any purchase of a Covered Product for which a Proof of Purchase is provided. (Id. §

IV.B.1.)

       Second, Class Members who do not have a Proof of Purchase will be able to receive up to

50 percent of the purchase price and sometimes more. (Id. § IV.B.2.) The Initial Claim Amount

will depend on the number and type of Eligible Products the Class Member purchased and is

subject to pro rata upward or downward adjustment as described in the Amended Settlement




                                                4
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 12 of 44



Agreement. (Id. § IV.B.) Also, under no circumstances will any Residual Funds revert to

Defendants. (Id. § IV.C.5.)

               2.      Injunctive Relief.

       In addition to the payment of significant monetary relief, Defendants have agreed to the

following labeling and advertising changes to address the concerns raised by Plaintiffs and the

Proposed Intervenors: (1) include a statement on the front label referring to the back label for

clarification of which ingredients are organic and which are not, as long as Defendants market the

Covered Products as “Babyganics” on the front label; (2) remove the word “natural” from the front

label of all Covered Products; (3) define “mineral-based” on the product page on the websites,

explaining that “mineral-based” Sunscreen Products combine the protections of both mineral and

non-mineral barriers, and provide references to Defendants’ website on the back of the Sunscreen

Products, for as long as Defendants market the Sunscreen Products as “mineral-based”; (4) for all

Sunscreen Products labeled SPF 50+, Defendants will conduct testing of each batch of applicable

sunscreen to confirm the batches match or exceed the active ingredient and levels expressed on the

front of the package for a three-year period and send an affirmation of compliance to Plaintiffs’

Counsel; (5) for certain Babyganics products labeled “tear free,” provide clarifications on the label

regarding the use and safety of those products, including that the product should not be applied

directly to the eye, that eyes should be flushed with water if product is applied to the eye, and that

the product should be kept out of the reach of children absent adult supervision; and (6) refrain

from using the statement “Plant-Based Ingredients” on pre-moistened wipes unless (a) the wipes

substrate are made entirely from a material derived from plants or (b) the package lists the

ingredients of the wipes substrate. (Sultzer Decl., Ex.1, Amended Settlement Agreement § IV.D.)




                                                  5
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 13 of 44



       B.      The Proposed Notice Plan.

       The Notice Plan was implemented in accordance with the terms the Court approved. (See

Opinion and Order, Dkt. 116, pp. 16-21.) On July 31, 2018, the Settlement Website and toll-free

number went live. (Declaration of Steven Weisbrot, Esq., annexed to the Sultzer Decl. as Exhibit

2 (“Weisbrot Decl.”) at ¶ 11.) On July 31, 2018, Angeion caused 13 Notice and Claim forms to

be mailed to individuals for which the list provided mailing addresses. (Id. at ¶ 6; id Ex. 3.) Also

on July 31, 2018, Angeion caused 25,979 emails containing the Notice and Claim Forms to be sent

to individuals for which Defendants’ list provided email addresses but not mailing addresses.

(Weisbrot Decl. ¶ 6; id., Ex. 3.) On July 31, 2018, Angeion began running the Internet banner

notice, which continued for four consecutive weeks and served a total of 65,142,985 impressions.

(Weisbrot Decl. ¶ 4; id., Ex. 1.) On July 31, 2018, Angeion caused the Short Form Notice to be

published in the California regional edition of USA Today. (Weisbrot Decl. ¶ 5; id., Ex. 2.)

       The details of the Notice Plan, including the methodology underlying its design, were

explained in the Declaration of Steven Weisbrot, Esq. on Adequacy of Notice Plan (Amended

Settlement, Ex. F, Dkt. 101-1), and a summary of the Notice Plan’s implementation is in the

Declaration of Steven Weisbrot, Esq., filed concurrently herewith (“Weisbrot Decl.”). The Notice

Plan delivered a 70.05% reach (not including the print publication in the California regional edition

of USA Today or the direct mail and email notice), exceeding the plan’s target of 70%. (Id. at ¶ 7.)

The claims data reflect the Notice Plan’s success: as of September 19, 2018, Angeion has received

71,978 Claim Form submissions from Settlement Class Members. (Id. at ¶ 13.)




                                                 6
         Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 14 of 44



IV.     THE PROPOSED SETTLEMENT IS FAIR, REASONABLE, AND ADEQUATE
        AND WARRANTS FINAL APPROVAL

        A.     Legal Standard

        Under Federal Rule of Civil Procedure 23(e), “[a] court may approve a class action

settlement if it is ‘fair, adequate, and reasonable, and not a product of collusion.’” Wal-Mart Stores,

Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 116 (2d Cir. 2005) (“Visa”) (quoting Joel A. v. Giuliani, 218

F.3d 132, 138 (2d Cir. 2000)); see also Fed. R. Civ. P. 23(e)(2). A court evaluating a class action

settlement under this standard analyzes both its procedural fairness and its substantive fairness.

Visa, 396 F.3d at 116. To determine procedural fairness, courts examine the negotiating process

leading to settlement “to ensure that the settlement resulted from an arm’s- length, good faith

negotiation between experienced and skilled litigators.” Charron v. Wiener, 731 F.3d 241, 247 (2d

Cir. 2013); see also D’Amato v. Deutsche Bank, 236 F.3d 78, 85 (2d Cir. 2001). To determine

substantive fairness, courts in the Second Circuit use the factors set forth in City of Detroit v.

Grinnell Corp., 495 F.2d 448 (2d Cir. 1974) (“Grinnell”), abrogated on other grounds by

Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000).

        “The settlement of complex litigation is strongly favored.” Fleisher v. Phoenix Life Ins.

Co., No. 11-CV-8405 (CM), 2015 U.S. Dist. LEXIS 121574, at *16 (S.D.N.Y. Sept. 9, 2015). This

is particularly so for class actions. Shapiro v. JPMorgan Chase & Co., No. 11 CIV. 7961 CM,

2014 U.S. Dist. LEXIS 37872, at *21 (S.D.N.Y. Mar. 24, 2014); In re Prudential Sec. Inc. Ltd.

Partnerships Litig., 163 F.R.D. 200, 209 (S.D.N.Y. 1995) (“It is well established that there is an

overriding public interest in settling and quieting litigation, and this is particularly true in class

actions.”).

        The Second Circuit Court of Appeals has “recognized a presumption of fairness,

reasonableness, and adequacy as to the settlement where ‘a class settlement [is] reached in arm’s-



                                                  7
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 15 of 44



length negotiations between experienced, capable counsel after meaningful discovery.’”

McReynolds v. Richards-Cantave, 588 F.3d 790, 803 (2d Cir. 2009); see also Fleisher, 2015 U.S.

Dist. LEXIS 121574, at *18 (“So long as the integrity of the arm’s length negotiation process is

preserved . . . a strong initial presumption of fairness attaches to the proposed settlement.”). As

Plaintiffs show below, the Settlement is procedurally and substantively fair, reasonable, and

adequate, and it warrants final approval.

       B.      The Settlement is Procedurally Fair.

       The proposed settlement is procedurally fair because it was reached by seasoned counsel

after they had taken meaningful discovery, thoroughly analyzed the strengths and weaknesses of

the claims and defenses, and engaged in vigorous and hard-fought arm’s-length negotiations,

including negotiations with the assistance of two highly qualified mediators and numerous

discussions in person, telephonically, and via email. Raniere v. Citigroup Inc., 310 F.R.D. 211,

217 (S.D.N.Y. 2015) (“A proposed settlement is procedurally fair when it is reached through arm’s

length negotiations between experienced, capable counsel and after meaningful discovery.”);

Morris v. Affinity Health Plan, Inc., 859 F. Supp. 2d 611, 618 (S.D.N.Y. 2012) (finding settlement

to be “procedurally fair, reasonable, adequate, and not a product of collusion,” since “[t]he

settlement was reached after Plaintiffs had conducted a thorough investigation and evaluated the

claims, and after arm’s-length negotiations between the parties,” including with an experienced

class action mediator).

       Involvement of an experienced mediator in settlement negotiations raises the presumption

that the settlement meets the requirements of due process. Fleisher, 2015 U.S. Dist. LEXIS

121574, at *21 (“The extensive participation of an experienced mediator also ‘reinforces that the

Settlement Agreement is non-collusive.’”); Reyes v. Altamarea Grp., LLC, No. 10-CV-6451 RLE,




                                                8
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 16 of 44



2011 U.S. Dist. LEXIS 115982, at *3 (S.D.N.Y. June 3, 2011) (“The assistance of an experienced

mediator . . . reinforces that the Settlement Agreement is non-collusive.”).

       Here, the Parties reached the Settlement after Plaintiffs had conducted a thorough

investigation and evaluation of the claims and defenses and after extensive arm’s-length

negotiations and information exchange between the Parties. (See Sultzer Decl. 5-13.) Settlement

discussions took place in person, in mediations, by email and telephonically over nine months,

both with and without the assistance with the highly respected mediators David A. Rotman, of

Haldman & Rotman in San Francisco, and Michael Young of JAMS in New York. (Sultzer

Decl. ¶¶ 9-13.) Participation of a highly qualified mediator in settlement negotiations strongly

supports a finding that negotiations were conducted at arm’s length and without collusion. See

D’Amato, 236 F.3d at 85 (“[A] court-appointed mediator’s involvement in precertification

settlement negotiations helps to ensure that the proceedings were free of collusion and undue

pressure.”); Tiro v. Pub. House Investments, LLC, No. 11 CIV. 7679 CM, 2013 U.S. Dist. LEXIS

72826, at *9 (S.D.N.Y. May 22, 2013) (“The assistance of an experienced JAMS employment

mediator . . . reinforces that the Settlement Agreement is non- collusive.”); In re Bear Stearns

Companies, Inc. Sec., Derivative, & ERISA Litig., 909 F. Supp. 2d 259, 265 (S.D.N.Y. 2012).

       Second, the discussions were undertaken by counsel who are well versed in complex

litigation and, more specifically, in cases involving misrepresentations concerning allegedly

organic and natural products. (See Sultzer Decl. ¶ 35; Declaration of Amy E. Boyle (“Boyle Decl.”)

¶ 3-5; Declaration of Katherine Van Dyck (“Van Dyck Decl.”) ¶ 4-5.)

       Third, Plaintiffs and their counsel conducted a thorough investigation and evaluation of

the claims and defenses prior to filing the Action and continued to analyze the claims throughout

the pendency of the case. (See, e.g., Sultzer Decl. ¶¶ 5-9.) Class Counsel conducted discovery




                                                 9
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 17 of 44



during the course of mediation, including obtaining sales data, average purchase price, net sales

information, marketing information regarding the reasons why consumers purchase Defendant’s

products, as well as information regarding internal product testing conducted by Defendant. (Id.

⁋ 9) Through this investigation, pre-mediation and confirmatory discovery, and ongoing analysis,

and through litigation of Plaintiffs’ claims before this Court, Class Counsel obtained an

understanding of the strengths and weaknesses of the Action.

       For the foregoing reasons, the Amended Settlement Agreement is procedurally fair.

       C.      The Proposed Settlement is Substantively Fair.

       In Grinnell, the Second Circuit provided the analytical framework for evaluating the

substantive fairness of a class action settlement. Grinnell, 495 F.2d at 448. The Grinnell factors

guide district courts in making this determination. They are:

       the complexity, expense and likely duration of the litigation; (2) the reaction of the
       class to the settlement; (3) the stage of the proceedings and the amount of discovery
       completed; (4) the risks of establishing liability; (5) the risks of establishing
       damages; (6) the risks of maintaining the class action through the trial; (7) the
       ability of the defendants to withstand a greater judgment; (8) the range of
       reasonableness of the settlement . . . in light of the best possible recovery; (9) the
       range of reasonableness of the settlement . . . to a possible recovery in light of all
       the attendant risks of litigation.

McReynolds, 588 F.3d at 804. “In applying these factors, ‘not every factor must weigh in favor of

the settlement, but rather the court should consider the totality of these factors in light of the

particular circumstances.’” Fleisher, 2015 U.S. Dist. LEXIS 121574, at *19; accord In re Hi-

Crush Partners L.P. Sec. Litig., No. 12-CIV-8557 CM, 2014 U.S. Dist. LEXIS 177175, at *14

(S.D.N.Y. Dec. 19, 2014) (“Hi-Crush Partners”).

       Evaluation of the proposed Settlement under the Grinnell factors supports final approval.




                                                10
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 18 of 44



               1.      The Complexity, Expense, and Likely Duration of the Litigation

       “This factor captures the probable costs, in both time and money, of continued litigation.”

Shapiro, 2014 U.S. Dist. LEXIS 37872, at *28. “Most class actions are inherently complex and

settlement avoids the costs, delays and multitude of other problems associated with them.” In re

Austrian & German Bank Holocaust Litig., 80 F. Supp. 2d 164, 174 (S.D.N.Y. 2000); accord

Shapiro, 2014 U.S. Dist. LEXIS 37872, at *28 (“Class action suits readily lend themselves to

compromise because of the difficulties of proof, the uncertainties of the outcome, and the typical

length of the litigation.”). This case is no exception, with thousands of Settlement Class Members

and claims under the laws of numerous states. (See Decl. Weisbrot ¶ 13, Settlement Class Members

submitted Claims; Am. Compl. ¶¶ 78-177.)

       “The greater the ‘complexity, expense and likely duration of the litigation,’ the stronger

the basis for approving a settlement.” Meredith Corp. v. SESAC, LLC, 87 F. Supp. 3d 650, 663

(S.D.N.Y. 2015) (citations omitted). First, contested class certification (and possibly subsequent

decertification) motions would include battles over which law or laws should be applied to the

claims of class members, the mechanism by which damages stemming from an unwarranted price

premium could be calculated on a class wide basis, and whether individual purchasing decisions

were relevant and/or would predominate over class wide issues. Class issues involving damages

would likely generate expert discovery and Daubert motions as well. Although Plaintiffs are

confident in their ultimate success in certifying a class based on this case’s similarities to another

matter before a sister court in this circuit, a positive ruling would no doubt be challenged by a

decertification motion or on appeal. Defendants would also contest the ascertainability of the

Class. Goldemberg v. Johnson & Johnson Consumer Cos., 2016 U.S. Dist. LEXIS 137780

(S.D.N.Y. Oct. 4, 2016) (certifying class of consumers who purchased products labeled “Active

Naturals”).


                                                 11
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 19 of 44



       Second, in addition to the expected discovery concerning the manufacturing of the products

and the sources and formulation of the ingredients, there would likely be lengthy and expensive

expert discovery and testimony about the meaning of the terms “natural,” “organic,” “Tear-Free,”

“50+ SPF,” and “mineral-based” to a reasonable consumer. These issues would generate Daubert

motion practice as well. Each step towards trial would be subject to Defendant’s vigorous

opposition and possible interlocutory appeal. Even if the case were to proceed to judgment on the

merits, any final judgment would likely be appealed, which would take significant time and

resources. These litigation efforts would be costly to all Parties and would require significant

judicial oversight.

       Although Plaintiffs believe they would ultimately prevail, “litigation of this matter . . .

through trial would be complex, costly and long.” Manley v. Midan Rest. Inc., No. 14 CIV. 1693

(HBP), 2016 U.S. Dist. LEXIS 43571, at *9 (S.D.N.Y. Mar. 30, 2016) (citation omitted). “The

settlement eliminates [the] costs and risks” associated with further litigation. Meredith Corp., 87

F. Supp. 3d at 663. “It also obtains for the class prompt [] compensation for prior [] injuries.” Id.

       For all of these reasons, this factor weighs strongly in favor of preliminary approval.

               2.      The Reaction of the Settlement Class

       “It is well settled that the reaction of the class to the settlement is perhaps the most

significant factor to be weighed in considering its adequacy.” Raniere, 310 F.R.D. at 218; accord

Maley v. Del Glob. Techs. Corp., 186 F. Supp. 2d 358, 362 (S.D.N.Y. 2002). Courts have

recognized that a favorable reaction by the settlement class members strongly supports final

approval of the settlement. Viafara v. MCIZ Corp., No. 12 CIV. 7452 RLE, 2014 U.S. Dist. LEXIS

60695, at *17 (S.D.N.Y. May 1, 2014); accord Visa, 396 F.3d at 118; D’Amato, 236 F.3d at 86-

87. The deadline for objecting to or opting out of the Settlement is October 10, 2018. (Opinion and

Order, Dkt. 116, p. 21). At this time, no Settlement Class Members have objected or opted out.


                                                 12
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 20 of 44



(Weisbrot Decl. ¶ 14). The response to date suggests the overwhelming majority of Settlement

Class Members support the Settlement.

       Moreover, the issues raised in the Motions to Intervene have been resolved in the Amended

Settlement Agreement. First, the Tear Free Intervenors argued their lawsuit “seeks to put an end

to Babyganics’ deceptive misrepresentations regarding the so-called ‘tear free’ quality of its bath

products.” (Dkt. 50-1 at 14.) The Amended Settlement Agreement provides that for Defendants’

bath products labeled as “tear free,” “Defendants will clarify on the back label that product should

not be applied directly to the eye, that eyes should be flushed with water if product is applied to

the eye, and that the product should be kept out of reach of children absent adult supervision.”

(Sultzer Decl., Ex. 1, Amended Settlement Agreement § IV.D.5.)

       The Amended Settlement Agreement addresses the concerns of Intervenor Machlan by

providing that Defendants “will not use a label statement ‘Plant-Based Ingredients’ on pre-

moistened wipes . . .unless (1) the wipes substrate are made entirely from a material derived

from plants or 92) the package lists the ingredients of the wipes substrate.” (Sultzer Decl., Ex. 1,

Amended Settlement Agreement § IV.D.6.) The Amended Settlement Agreement also addresses

the claims of the SPF Intervenors in that Defendants have agreed to conduct batch testing of their

Sunscreen Products labeled as SPF 50+ to confirm they match or exceed the active ingredient

and levels expressed on front of package prior to expiration date. (Sultzer Decl., Ex. 1,

Amended Settlement Agreement § IV.D.4.)

       While courts within the Second Circuit “have regularly approved settlements even where

substantial portions of the class have objected,” Charron v. Pinnacle Grp. N.Y. LLC, 874 F. Supp.

2d 179, 197-98 (S.D.N.Y. 2012) (citing Cty. of Suffolk v. Long Island Lighting Co., 907 F.2d 1295,

1325 (2d Cir. 1990), and TBK Partners, Ltd. v. W. Union Corp., 675 F.2d 456, 462 (2d Cir. 1982)),




                                                13
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 21 of 44



“‘[t]he fact that the vast majority of class members neither objected nor opted out is a strong

indication’ of fairness,” DeLeon v. Wells Fargo Bank, N.A., No. 1:12-CV-04494, 2015 U.S. Dist.

LEXIS 65261, at *9 (S.D.N.Y. May 11, 2015); see also Hi-Crush Partners, 2014 U.S. Dist. LEXIS

177175, at *17 (“The overwhelmingly positive reaction of the Settlement Class evidences the

Class’ approval.”). Given that the concerns of the intervenors have been addressed by the

Amended Settlement and that there have been no objections or opt-outs to date, this factor weighs

strongly in favor of approving the Settlement Agreement.

               3.      The Stage of the Proceedings and the Amount of Discovery
                       Completed

       The third Grinnell factor “inquires ‘whether the parties had adequate information about

their claims,’ such that counsel ‘possessed a record sufficient to permit evaluation of the merits of

Plaintiffs’ claims, the strengths of the defenses asserted by Defendants, and the value of Plaintiffs’

causes of action for purposes of settlement.’” Meredith Corp., 87 F. Supp. 3d at 663 (citations

omitted). “The pertinent question is ‘whether counsel had an adequate appreciation of the merits

of the case before negotiating.’” Viafara, 2014 U.S. Dist. LEXIS 60695, at *18 (quoting In re

Warfarin Sodium Antitrust Litig., 391 F.3d 516, 537 (3d Cir. 2004)).

       Here, investigation and pre-mediation and confirmatory discovery have “advanced

sufficiently to allow the parties to resolve the case responsibly.” Manley, 2016 U.S. Dist. LEXIS

43571, at *9. Class Counsel have conducted significant pre-mediation and confirmatory discovery

related to Plaintiffs’ claims, including obtaining information regarding Defendants’ internal

laboratory testing, and reviewing of sales, marketing, and pricing data. (See Sultzer Decl. ¶ 6;

Weiner Decl. ¶¶ 10-11.) Consequently, Plaintiffs had sufficient information to evaluate the claims

of the class. See D.S. v. New York City Dep’t of Educ., 255 F.R.D. 59 (E.D.N.Y. 2008) (“The




                                                 14
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 22 of 44



amount of discovery undertaken has provided plaintiffs’ counsel ‘sufficient information to act

intelligently on behalf of the class’ in reaching a settlement.”).

       Courts often grant final approval of class settlements in cases where the parties conducted

the same amount or even less discovery than the amount accomplished in this case. See, e.g.,

Matheson v. T-Bone Rest., LLC, No. 09 CIV. 4214 DAB, 2011 U.S. Dist. LEXIS 143773, at *3

(S.D.N.Y. Dec. 13, 2011) (granting final approval in case where discovery consisted of informal

information exchange); Johnson v. Brennan, No. 10 CIV. 4712 CM, 2011 U.S. Dist. LEXIS

105775, at *28 (S.D.N.Y. Sept. 16, 2011) (finding that parties were “well-equipped to evaluate

the strengths and weaknesses of the case” and granting final approval where parties engaged in

informal discovery and no depositions were taken); In re Sony SXRD Rear Projection Television

Class Action Litig., No. 06 Civ. 5173(RPP), 2008 U.S. Dist. LEXIS 36093, at *20 (S.D.N.Y. May

1, 2008) (“Although the parties did not engage in extensive formal discovery, such efforts are not

required for the Settlement to be adequate, so long as the parties conducted sufficient discovery to

understand their claims and negotiate settlement terms.”).

       The significant amount of discovery conducted allowed the Parties to assess thoroughly

the merits, risks, and value of the case. Consequently, this factor favors final approval.

               4.      The Range of Reasonableness of the Settlement in Light of the Best
                       Possible Recovery and Risks of Litigation.

       This Court has asked for additional information regarding the risks of establishing liability

and damages. (See Opinion & Order, Dkt. 116, at p. 15.) Plaintiffs assert that they and the other

members of the Class paid a price premium over and above what they otherwise would have paid

for the Covered Products based on Defendants’ label representations. (Amended Complaint, Dkt.

45, at ¶¶ 7, 8, 14, 19, 25.) Plaintiffs believe they could demonstrate the existence of such a price

premium and could calculate classwide damages accordingly. (See Declaration of Donald M. May



                                                  15
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 23 of 44



(“May Decl.”), annexed to the Sultzer Decl. as Exhibit 3, at ¶ 33; Goldemberg, 2016 U.S. Dist.

LEXIS 137780, at *40-41 (denying the defendants’ Daubert motion and holding that the plaintiffs’

methodology for their price premium calculation was capable of matching the plaintiffs’ liability

case to their damages case for class certification purposes)). However, whether the methodology

would survive further challenge on the merits is an open question, and there are significant risks

and costs associated with the calculation of a price premium. (See May Decl. ¶¶ 31-33; Hughes v.

The Ester C Co., 317 F.R.D. 333, 355 (E.D.N.Y. 2016) (rejecting plaintiff’s proposed methodology

for calculating a price-premium in a deceptive labeling case for failing to appropriately isolate any

increased price that was attributable to the label representations).)

       In addition to the difficulties of calculating price-premium damages, Plaintiffs also face

challenges in proving Defendants’ liability. Defendants have denied any liability from the

inception of the Action, and a trial on the merits would involve significant risks for Plaintiffs as to

both liability and damages. (Sultzer Decl. ¶ 25.) Resolution of the question of whether Defendants’

representations deceive reasonable consumers, for example, is far from certain. See, e.g., Ries v.

Arizona Beverages USA LLC, No. 10-01139 RS, 2013 U.S. Dist. LEXIS 46013, at *27 (N.D. Cal.

Mar. 28, 2013) (granting summary judgment in favor of defendant in case involving “natural”

beverage labeling); but see Brazil v. Dole Packaged Foods, LLC, 660 Fed. App’x 531, 535 (9th

Cir. 2016) (unpublished) (reversing grant of summary judgment for defendant on claim that “All

Natural Fruit” representation was likely to deceive reasonable consumers).

       “In analyzing the risk to Plaintiffs and the Settlement Class Members in establishing

liability, the Court does not ‘need to decide the merits of the case or resolve unsettled legal

questions.’” Hi-Crush Partners, 2014 U.S. Dist. LEXIS 177175, at *20. “Rather, the Court is only

required to weigh the likelihood of success on the merits against the relief provided by the




                                                  16
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 24 of 44



Settlement.” Id. “Courts routinely approve settlements where plaintiffs would have faced

significant legal and factual obstacles to establishing liability.” Id. “In assessing the Settlement,

the Court should balance the benefits afforded the Class, including the immediacy and certainty of

a recovery, against the continuing risks of litigation.” Id.; accord City of Providence v.

Aeropostale, Inc., No. 11 CIV. 7132 CM GWG, 2014 U.S. Dist. LEXIS 64517, at *20 (S.D.N.Y.

May 9, 2014).

       “It has long been recognized that complex class actions are difficult to litigate.” Shapiro,

2014 U.S. Dist. LEXIS 37872, at *36. “Indeed, the primary purpose of settlement is to avoid the

uncertainty of a trial on the merits.” Viafara, 2014 U.S. Dist. LEXIS 60695, at *19 (citing In re

Ira Haupt & Co., 304 F. Supp. 917, 934 (S.D.N.Y. 1969)). “The legal and factual issues involved

[in complex class actions] are always numerous and uncertain in outcome.” Shapiro, 2014 U.S.

Dist. LEXIS 37872, at *36. Furthermore, “[p]roof of damages in complex class actions is always

complex and difficult and often subject to expert testimony.” Id. at *11.

       Class Counsel are experienced and realistic and understand that the resolution of liability

issues, the outcome of the trial, and the inevitable appeals process are inherently uncertain in terms

of outcome and duration. (Sultzer Decl. ¶¶ 26-28) The proposed Settlement alleviates these

uncertainties, as it “will provide tangible, certain and substantial relief to the proposed class now,

‘without subjecting them to the risks, complexity, duration, and expense of continuing litigation.’”

Hi-Crush Partners, 2014 2014 U.S. Dist. LEXIS 177175, at *23. For these reasons, although

Plaintiffs are confident in the merits of their case, the risks of establishing liability and damages

strongly support approval of the Amended Settlement Agreement. Raniere, 310 F.R.D. at 218.

       Here, the relief the Amended Settlement Agreement provides is within the range of

reasonableness, especially in light of the best possible recovery and in light of all the attendant




                                                 17
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 25 of 44



risks of litigation. “There is a range of reasonableness with respect to a settlement—a range which

recognizes the uncertainties of law and fact in any particular case and the concomitant risks and

costs necessarily inherent in taking any litigation to completion[.]” Visa, 396 F.3d at 119 (citation

omitted). “In other words, the question for the Court is not whether the settlement represents the

highest recovery possible . . . but whether it represents a reasonable one in light of the many

uncertainties the class faces[.]” Bodon v. Domino’s Pizza, LLC, No. 09-CV-2941 SLT, 2015 U.S.

Dist. LEXIS 17358, at *17 (E.D.N.Y. Jan. 16, 2015) (citation omitted)

       The Amended Settlement provides valuable injunctive relief, including changes to the front

labels of millions of Products. The gravamen of the Action is that Defendants are deceiving

consumers in labeling and marketing its Babyganics Products. The injunctive relief the Settlement

provides—i.e., written clarification on the product labeling as to which ingredients are organic and

which are not, the removal of the word “natural” from the front label of all Products, clarification

on the Defendant’s website regarding the term “mineral based,” required batch testing of the

Sunscreen Products, written clarification regarding the use of certain “Tear-Free” products, and

removal of the statement “Plant-Based Ingredients” from certain Products unless Defendants meet

certain conditions—is an excellent outcome both for the Settlement Class members and for future

consumers. It also resolves all of Plaintiffs and the Proposed Intervenors’ claims. See Fleisher,

2015 U.S. Dist. LEXIS 121574, at *35. (“The overall value of the settlement comprises monetary

as well as non- monetary relief.”).

       The Amended Settlement’s substantial and immediate injunctive relief compares favorably

to the relief that Plaintiffs would seek—but that would not be guaranteed—were the case to

proceed to trial and beyond. For example, Plaintiffs’ ability to achieve a permanent injunction in

the litigation context is not set in stone, as courts within the Second Circuit have recently held




                                                 18
          Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 26 of 44



plaintiffs lack standing to seek injunctive relief where they are aware of the misrepresentations at

issue. See, e.g., Hughes, 317 F.R.D. at 357; In re Avon Anti-Aging Skincare Creams & Prod. Mktg.

& Sales Practices Litig., No. 13-CV-150 JPO, 2015 U.S. Dist. LEXIS 133484, at *22 (S.D.N.Y.

Sept. 30, 2015) (denying certification of Rule 23(b)(2) class); but see Ackerman v. Coca-Cola Co.,

No. 09 CV 395 DLI RML, 2013 U.S. Dist. LEXIS 184232, at *56, n.23 (E.D.N.Y. July 18, 2013)

(holding plaintiffs had standing to seek injunctive relief).

         Furthermore, the cash compensation to which eligible Settlement Class members will be

entitled in the event the Court approves the Settlement goes a significant way toward compensating

Settlement Class members for the damages they incurred on account of Defendant’s allegedly

deceptive organic, “natural,” and “mineral-based” representations. The Amended Settlement

permits a class member to recover, subject to pro rata reduction if the total value of claims exceeds

the $2,215,000 settlement fund:

         •   a full refund for every Babyganics purchase, with no limitation on quantity, for
             which the class member has a proof of purchase (Amended Settlement
             Agreement at § IV.B.1), and

         •   a full or partial refund for up to eight additional purchases. (Id at §16-18.)

         An examination of the price differences between some of the highest selling Babyganics

Products and competitor products demonstrates why the settlement fund represents a significant

portion of the monetary relief for the Class Members could expect to recover under a price

premium theory:

         Babyganics Sunscreen Lotion Broad Spectrum Protection - SPF 50 - 8 fl oz sells for

$12.99 1 or $1.62 per ounce, while a leading competitor product, Hawaiian Tropic Island Sport



1
    https://www.target.com/p/babyganics-sunscreen-lotion-broad-spectrum-protection-spf-50-8-fl-



                                                   19
          Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 27 of 44



Sunscreen SPF 50 8oz sells for $8.99 or $1.12 per ounce. 2 (May Decl. ¶ 17). This represents a

price premium of $0.50 per ounce, or approximately 30% of the per-ounce purchase price. The

Coppertone Waterbabies Pure and Simple Zinc Sunscreen Lotion SPF 50 6oz sells for $8.99 3, or

$1.50 per ounce, representing a price premium of $0.12, or approximately 7.5%.

         The Babyganics 3x Laundry Detergent, Fragance Free 60oz (60 load) retails for $14.99 4,

or $0.25 per load, while the Seventh Generation Free & Clear Natural Liquid Laundry Detergent

100oz (66 loads) and Tide Free and Gentle Liquid Laundry Detergent 100oz (64 load) both retail

for $11.99 5 ($.018 and $.019 per load, respectively). Thus, the Babyganics detergent product has

a total price premium of $.07 and $.06 over these competitors, or approximately 28%.

         The Babyganics Moisturizing Daily Lotion Fragrance Free 17oz costs $7.99 6, or $.047 per

ounce, while a competitor product, the Baby Dove Sensitive Moisture Lotion 20oz, costs $6.59 7,

or $.33 per ounce, reflecting a price premium of $.14 per ounce, or 29%.




oz/-/A-39593835
2
 https://www.target.com/p/hawaiian-tropic-island-sport-sunscreen-lotion-spf-50-8oz/-/A-
51164248
3
 https://www.target.com/p/coppertone-waterbabies-pure-and-simple-zinc-sunscreen-lotion-spf-
50-6oz/-/A-51181436
4
    https://www.target.com/p/babyganics-3x-laundry-detergent-fragrance-free-60oz/-/A-50094974
5
 https://www.target.com/p/seventh-generation-153-free-clear-natural-liquid-laundry-detergent-
100oz/-/A-13221033; https://www.target.com/p/tide-free-and-gentle-liquid-laundry-detergent-
100-oz/-/A-13918061
6
    https://www.target.com/p/babyganics-daily-lotion-17oz/-/A-53429810
7
    https://www.target.com/p/baby-dove-sensitive-moisture-lotion-20oz/-/A-51276318




                                                20
          Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 28 of 44



         Finally, the Babyganics Natural Insect Repellent, 6oz retails for $ 8.99 8, or $1.67 per ounce,

while the Herbal Armor Natural Insect Repellent Pump Spray, 8oz, costs $8.99 9, or $1.12 per

ounce, reflecting a price premium of $.55, or 33%.

         This cursory analysis shows that Babyganics may charge a price premium of anywhere

between 7.5% and 33% for its products. However, because the packaging of the Babyganics

Products have a wide variety of attributes, color, font, the attractiveness of the logo and/or artwork

on the packaging, the shape of the packaging, SPF level, fragrance, packaging color, dispensing

method, and size, it is likely that only a portion of the price premium for the product is attributable

to the representations at issue in this case. (May Decl. ¶ 17.)

         The total value of the sales for the challenged products in this case over the Class Period is

approximately $145 million. (See Sultzer Decl. Ex. 4). If the total price premium for the Products

is 33%, (the high end of the premium found in the analysis above), the price premium based on

the deceptive representations alone might account for one-third of that figure (this fraction is

possible, but likely high given the sheer number of packaging attributes that could impact

consumer choice). In that case, the damages that Plaintiffs could recover on their best day would

be about 11% of sales, or $15.9 million. By contrast, if the total price premium for the Products

were 7.5%, and the price premium based on the deceptive representations was one-third of that

figure, the maximum possible damages would be 2.5% of the purchase price, or $3.625 million.

Thus, in light of the risks of certifying this case and litigating liability, the $2.215 million

settlement fund represents a significant percentage of the total damages that Plaintiffs could

realistically secure in this case.



8
    https://www.target.com/p/babyganics-natural-insect-repellent-6-fl-oz/-/A-53388025
9
    https://www.target.com/p/8oz-natural-insect-repellent-pump-spray-herbal-armor/-/A-50016443


                                                   21
         Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 29 of 44



        Because the Settlement Fund represents a significant portion of the total potential damages

in this case, the Settlement is both fair and reasonable. See Grinnell, 495 F.2d at 455 n.2 (in theory,

even a recovery of only a fraction of one percent of the overall damages could be a reasonable and

fair settlement); In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 986 F. Supp.

2d 207, 229 (E.D.N.Y. 2013) (granting final approval to antitrust class action settlement

representing approximately 2.5 percent of the highest damages estimate as “within the range of

reasonableness in light of the best possible recovery and in light of all the attendant risks of

litigation”).

        Indeed, courts in this District have recently approved comparably sized settlements in

product-labeling class actions. See, e g., Order Granting Final Approval of Class Action

Settlement, Vincent v. People Against Dirty, PBC, No. 7:16-cv-6936 (S.D.N.Y. June 20, 2017)

(Dkt. 55) (approving $2.8 million fund); Order Approving Class Action Settlement and Final

J’ment, Rapoport-Hecht v. Seventh Generation Inc., No. 7:14-cv-9087 (S.D.N.Y. Apr. 28, 2017)

(Dkt. 76) (approving $4.5 million fund). The $2,215,000 Settlement Fund is also a victory for the

Settlement Class, especially in light of the risks of continued litigation Plaintiffs discussed above.

“The substantial amount of the settlement weighs in favor of final approval.” Viafara, 2014 U.S.

Dist. LEXIS 60695, at *21 (total settlement of $550,000); see also Zeltser v. Merrill Lynch & Co.,

Inc., No. 13 Civ. 1531(FM), 2014 U.S. Dist. LEXIS 135635, at *15 (S.D.N.Y. Sept. 23, 2014)

(stating same where parties reached settlement of “up to $6.9 million”).

                5.     The Risks of Maintaining Class Action Status Through Trial

        Plaintiffs believe common issues predominate and that they would succeed in certifying a

class or classes for litigation purposes. However, it would be difficult to certify and maintain a

national class through trial. See, e.g., Hughes, 317 F.R.D. at 358 (denying certification of national

class of consumers who purchased vitamin C supplements because individual questions of law and


                                                  22
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 30 of 44



fact predominated); Kurtz v. Kimberly-Clark Corp., 320 F.R.D. 104, 106 (E.D.N.Y. 2017)

(declining to certify national class, but certifying New York class of consumers of cleansing

wipes); but see Rodriguez v. It’s Just Lunch, Int’l, 300 F.R.D. 125, 149 (S.D.N.Y. 2014) (certifying

national class of consumers who were overcharged by a matchmaking service). In the alternative,

Plaintiffs could move for certification of several statewide classes, which courts in this Circuit

have frequently granted. See, e.g., Goldemberg, 2016 U.S. Dist. LEXIS 137780 (certifying New

York, California, and Florida classes of consumers who purchased products labeled “Active

Naturals”); In re Scotts EZ Seed Litig., 304 F.R.D. 397 (S.D.N.Y. 2015) (certifying New York and

California class off consumers); Ackerman, 2013 U.S. Dist. LEXIS 184232, at * 95

(recommending certification of classes of New York and California injunctive classes);

       The Parties anticipate class certification would only be resolved after further discovery,

possibly including expert discovery concerning calculation of damages on a class-wide basis, and

intense, exhaustive briefing. (Sultzer Decl. ¶¶ 27, 28.) Although Plaintiffs are confident class

treatment is appropriate in this case, even if the Court were to certify a class, Defendants could

seek an interlocutory appeal pursuant to Rule 23(f), raising the possibility of overturning

certification. (Id.) Furthermore, Defendants could move “to de-certify the Class before trial

or on appeal at the conclusion of trial.” Hi-Crush Partners, 2014 U.S. Dist. LEXIS 177175, at

*24; see also Visa, 396 F.3d at 119 n.24 (“[D]ecertification is always possible as a case progresses

and additional facts are developed.”). Risk, expense, and delay permeate such processes. The

Amended Settlement eliminates this risk, expense, and delay. For these reasons, this factor favors

final approval.

                  6.   The Ability of Defendant to Withstand a Greater Judgment

       Defendants have the ability to pay more than a $2,215,000 judgment. However, their ability

to do so, “standing alone, does not suggest that the settlement is unfair.” Fleisher, 2015 U.S. Dist.


                                                 23
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 31 of 44



LEXIS 121574, at *33 (quoting D’Amato, 236 F.3d at 86); accord In re Austrian & German Bank

Holocaust Litig., 80 F. Supp. 2d at 178 n.9. “[A] defendant is not required to ‘empty its coffers’

before a settlement can be found adequate.” Meredith Corp., 87 F. Supp. 3d at 665. This factor is

neutral and does not preclude the Court from granting final approval.

       Thus, collectively and independently, the Grinnell factors warrant the conclusion that the

Amended Settlement Agreement is fair, adequate, and reasonable. As such, Plaintiffs respectfully

request that the Court grant preliminary approval of the Settlement.

V.     THE COURT SHOULD CONFIRM CERTIFICATION OF THE SETTLEMENT
       CLASS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 23

       A.      Legal Standard

       The benefits of the proposed Settlement can be realized only through final certification of

the Settlement Class for settlement purposes pursuant to Rule 23. See Meredith Corp., 87 F. Supp.

3d at 659 (“Certification of a settlement class ‘has been recognized throughout the country as the

best, most practical way to effectuate settlements involving large numbers of claims by relatively

small claimants.’”). The U.S. Supreme Court has emphatically confirmed the viability of

settlement classes. Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997). In Amchem Products,

Inc., the Supreme Court reiterated the “dominant concern” governing analysis under Rule 23:

“whether a proposed class has sufficient unity so that absent members can fairly be bound by

decisions of class representatives.” Id. at 621.

       Here, the proposed Settlement Class satisfies this dominant concern; indeed, as Plaintiffs

set forth in their preliminary approval brief (Memorandum of Law In Support of Plaintiffs’

Renewed Motion for Preliminary Approval of Settlement 24-30, ECF No. 100), the Settlement

Class satisfies all prerequisites of Rule 23(a), as well as all requirements of Rule 23(b)(3).

Furthermore, no one has challenged the Court’s preliminary certification of the Settlement Class,



                                                   24
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 32 of 44



and nothing has occurred subsequently to cast doubt on whether the Settlement Class meets the

applicable requirements of Rule 23. The Court should now finally certify the Settlement Class for

purposes of effectuating the Settlement.

       B.      The Settlement Class Satisfies Federal Rule of Civil Procedure 23(a)

       “Under Federal Rule of Civil Procedure 23(a), plaintiffs must meet the four requirements

of numerosity, commonality, typicality, and adequacy of representation.” Meredith Corp., 87 F.

Supp. 3d at 659; see Fed. R. Civ. P. 23(a)(1)–(4). The Settlement Class meets each requirement.

       Numerosity: The proposed Settlement Class is sufficiently numerous to satisfy Rule

23(a)(1), since there is no dispute that thousands of people nationwide purchased the Babyganics

Products during the Class Period. Consol. Rail Corp. v. Town of Hyde Park, 47 F.3d 473, 483 (2d

Cir. 1995) (“[N]umerosity is presumed at a level of 40 members.”).

       Commonality: Under Rule 23(a)(2)’s commonality requirement, what matters is “the

capacity of a classwide proceeding to generate common answers apt to drive the resolution of the

litigation.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). Courts in the Second Circuit

construe commonality liberally. See, e.g., Sykes v. Mel Harris & Associates, LLC, 285 F.R.D. 279,

286 (S.D.N.Y. 2012) (“The Rule does not require all questions of law or fact to be common.”);

Jermyn v. Best Buy Stores, L.P., 256 F.R.D. 418, 429 (S.D.N.Y. 2009). “[E]ven a single common

question will suffice.” Sykes, 285 F.R.D. at 286.

       Here, the commonality requirement is met because there are common contentions for

which determination of their truth or falsity will resolve issues that are central to the validity of

each one of the claims in one stroke. Common questions include: (1) whether Defendants falsely

represented that their Products are organics; (2) whether Defendants falsely represented the

ingredients in their Sunscreens; (3) whether Defendants falsely represented that their Sunscreens

have an SPF of 50 or higher; (4) whether Defendants falsely represented their Bath Products are


                                                 25
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 33 of 44



non-irritating and non-harmful to the eyes of infants and children; (5) whether Defendants falsely

represented their Products are natural; (6) whether Defendants engaged in fraudulent, unfair,

unlawful, or deceptive business practices; (7) whether a reasonable consumer would rely on or be

deceived by Defendants business practices; and (8) whether Plaintiffs and the Nationwide Class

are entitled to nationwide injunctive relief.

        Similar questions have been found to satisfy the commonality requirement in other class

actions. See Langan v. Johnson & Johnson Consumer Companies, Inc., No. 13-cv-1470, 2017 U.S.

Dist. LEXIS 35703, at *44-45 (D. Conn. Mar. 13, 2017) (certifying Rule 23(b)(3) class of

purchasers of sunscreens and other “natural” baby products, including “Aveeno Baby Natural

Protection Mineral Block”); Brazil, 660 Fed. App’x at 533-34, 535 (reversing summary judgment

in Dole’s favor on California UCL claims and affirming certification of Rule 23(b)(2) and 23(b)(3)

classes where plaintiffs alleged that “All Natural Fruit” label is deceptive where “products contain

synthetic citric acid and ascorbic acid); Brown v. Hain Celestial Grp., Inc., No. 11-cv-03082, 2014

U.S. Dist. LEXIS 162038, at *62-63 (N.D. Cal. Nov. 18, 2014) (certifying multiple classes of

purchasers of personal care products with misleading labels, including products that were not

purchased by the named class representatives). The commonality requirement is similarly met

here.

        Typicality: “Rule 23(a)(3)’s typicality requirement is satisfied when each class member’s

claim arises from the same course of events and each class member makes similar legal arguments

to prove the defendant’s liability.” Robidoux v. Celani, 987 F.2d 931, 936 (2d Cir. 1993). The

typicality requirement “ensures that ‘maintenance of a class action is economical and [that] the

named plaintiff’s claim and the class claims are so interrelated that the interests of the class

members will be fairly and adequately protected in their absence.’” Manley, 2016 U.S. Dist.




                                                26
          Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 34 of 44



LEXIS 43571, at *11. “The commonality and typicality requirements tend to merge into one

another, so that similar considerations animate analysis of Rules 23(a)(2) and (3).” Marisol A. v.

Giuliani, 126 F.3d 372, 376 (2d Cir. 1997).

          Here, the named Plaintiffs’ claims are typical of the Settlement Class Members’ claims

because the named Plaintiffs’ claims arise from the same factual and legal circumstances that form

the bases of the Settlement Class Members’ claims. Here, Plaintiffs and the Settlement Class

members all bought Products bearing the same product name, “Babyganics,” and the same

representations, “Mineral-Based,” natural, “SPF 50+,” and “Tear-Free.” (See Amended

Complaint, Dkt. 145 ¶¶ 13-19.) Plaintiffs have also linked this branding to their fraud and

misrepresentation claims. Brown, 2014 U.S. Dist. LEXIS 162038, at *41 (“The named plaintiffs

here do ‘link’ their claims to those arising from products that they themselves did not buy, and the

challenged representations are not ‘unique’ to any product.”). They therefore satisfy Rule 23(a)’s

typicality prong.

          Adequacy of Representation: “Adequate representation is a twofold requirement: class

counsel must be qualified and able to conduct the proposed litigation, and the class representatives

must not have interests antagonistic to those of the other class members.” Manley, 2016 U.S. Dist.

LEXIS 43571, at *12; accord In re Drexel Burnham Lambert Grp., Inc., 960 F.2d 285, 291 (2d

Cir. 1992). “The adequacy inquiry under Rule 23(a)(4) serves to uncover conflicts of interest

between named parties and the class they seek to represent.” Amchem Prods., Inc., 521 U.S. at

625; see also Charron, 731 F.3d at 249. The interests of Plaintiffs and the putative class members

are aligned because they all are pursuing the claim that they suffered similar injury in the form of

purchasing various Products bearing the same false labels, and all class members seek the same

relief.




                                                27
          Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 35 of 44



         As to the second inquiry, Plaintiffs and Class Counsel have demonstrated that they will

prosecute this action vigorously and will continue to do so. Plaintiffs have reviewed the Settlement

Agreement and given their approval. (Amended Settlement Agreement at 41.) Additionally, Class

Counsel are well qualified, possess no conflicts of interest, and have already proven capable of

prosecuting this action vigorously on behalf of the class. Plaintiffs’ counsel have litigated this

Action since its inception and did so on behalf of both the putative injunctive and damages class

members. All firms that seek to represent the class have extensive experience in handling complex

commercial litigation, including class actions. (See The Sultzer Law Group Resume, annexed to

the Sultzer Decl. as Exhibit 5; Boyle Decl. ¶¶ 3-5, Ex. A; Van Dyck Decl. ¶4-5) Adequacy is

therefore met.

         C.      The Settlement Class Meets the Requirements of Federal Rule of Civil
                 Procedure 23(b)(3)

         “To qualify for certification under Rule 23(b)(3), a class must meet two requirements

beyond the Rule 23(a) prerequisites: Common questions must ‘predominate over any questions

affecting only individual members’; and class resolution must be ‘superior to other available

methods for the fair and efficient adjudication of the controversy.’” 10 Amchem Prods., Inc., 521

U.S. at 615. Rule 23(b)(3) “is designed to ‘achieve economies of time, effort, and expense, and

promote . . . uniformity of decision as to persons similarly situated, without sacrificing procedural

fairness or bringing about other undesirable results.’” Meredith Corp., 87 F. Supp. 3d at 661. The

Settlement Class satisfies both requirements.

         Predominance: The “predominance inquiry tests whether proposed classes are sufficiently

cohesive to warrant adjudication by representation.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct.



10
     Manageability under Rule 23(b)(3)(D)


                                                 28
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 36 of 44



1036, 1045 (2016) “Class-wide issues predominate if resolution of some of the legal or factual

questions that qualify each class member’s case as a genuine controversy can be achieved through

generalized proof, and if these particular issues are more substantial than the issues subject only

to individualized proof.” Manley, 2016 U.S. Dist. LEXIS 43571, at *15. “An individual question

is one where ‘members of a proposed class will need to present evidence that varies from member

to member,’ while a common question is one where ‘the same evidence will suffice for each

member to make a prima facie showing [or] the issue is susceptible to generalized, class-wide

proof.’” Tyson, 136 S. Ct. at 1045. “Common issues may predominate when liability can be

determined on a class-wide basis, even when there are some individualized damage issues.”

Shahriar v. Smith & Wollensky Rest. Grp., 659 F.3d 234 (2d Cir. 2011).

       Here, for settlement purposes, predominance is satisfied. As noted above, “[c]lasswide

evidence w[ould] be used to establish whether [Defendants’] labeling . . . was false, and if so,

whether it was likely to mislead a reasonable consumer acting reasonably under the

circumstances.” In re Scotts EZ Seed Litig., 304 F.R.D. at 409. It would likewise be used to prove

that Plaintiffs and the putative class members “suffered economic harm when they paid for a

worthless product, or when they paid a premium” for Defendants’ products.         Id.   Moreover,

“[r]elief under the UCL and FAL is available without individualized proof of ‘reliance and injury,

so long as the named plaintiffs demonstrate injury and causation.’” Id. at 410. Finally,

individualized questions of damages need not defeat predominance in a class action. See In re

Nassau Cty. Strip Search Cases, 461 F.3d 219, 231 (2d Cir. 2006) (noting that a number of

management tools are available to handle individualized damages issues). As a result, the

predominance prong of Rule 23(b)(3) is satisfied.




                                                29
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 37 of 44



       Nor do differences in state laws defeat predominance. Courts in this Circuit have certified

national classes of consumers for the purposes of settlement. Order Granting Final Approval of

Class Action Settlement, Vincent v. People Against Dirty, PBC, No. 7:16-cv-6936 (S.D.N.Y. June

20, 2017); Order Approving Class Action Settlement and Final Judgment, Rapoport-Hecht v.

Seventh Generation Inc., No. 7:14-cv-9087 (S.D.N.Y. Apr. 28, 2017). National settlement classes

are appropriate because any differences in state law are an issue of manageability, rather than

predominance. Sullivan v. DB Invs., Inc., 667 F.3d 273, 303 (3d Cir. 2011); Denney v. Jenkens &

Gilchrist, 230 F.R.D. 317, 335 (S.D.N.Y. 2005) (“Because this is a settlement-only class, the Court

need not be concerned with the feasibility of managing the trial of a class action involving many

different states' laws.”). Such manageability concerns are “not relevant for class action

settlements,” Tart v. Lions Gate Entm’t Corp., No. 14-CV-8004 AJN, 2015 U.S. Dist. LEXIS

139266, at *11 (S.D.N.Y. Oct. 13, 2015), “for the proposal is that there be no trial,” Amchem

Prods., Inc., 521 U.S. at 620.

       Superiority: Class certification “is superior to other methods available for a fair and

efficient adjudication of the controversy” where “the class device will achieve economies of scale,

conserve judicial resources, preserve public confidence in the integrity of the judicial system by

avoiding the waste and delay of repetitive proceedings, and prevent inconsistent adjudications of

similar claims.” Bravo v. Palm W. Corp., No. 14 9193 SN, 2015 U.S. Dist. LEXIS 135123, at *9

(S.D.N.Y. Sept. 30, 2015). A class action is the superior method for resolving Plaintiffs’ claims.

The prosecution of separate actions by individual Settlement Class Members would create a risk

of inconsistent or varying adjudications, which would establish incompatible standards of conduct

for Defendants and would lead to repetitive trials of the predominant common questions of fact

and law. Further, absent a class action, Settlement Class Members would be left to bring individual




                                                30
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 38 of 44



claims for damages amounts that often would be too small to provide an economic justification for

individually bringing suit, in light of the costs of litigation. Meredith Corp., 87 F. Supp. 3d at 661

(finding superiority met where “the price-tag for an individual [plaintiff] to bring this suit would

have almost certainly dwarfed even the highest realistically imaginable recovery for that

[plaintiff]”). Consequently, the superiority requirement is satisfied. Tart, 2015 U.S. Dist. LEXIS

139266, at *11.

       D.       THE CLASS CLAIMS SATISFY THE PREREQUISITES OF RULE
               23(B)(2).

       Plaintiffs also seek to certify a nationwide injunctive class under Rule 23(b)(2). (Amended

Settlement Agreement § II.A.38.) Certification is appropriate under Rule 23(b)(2) when “the party

opposing the class has acted or refused to act on grounds that apply generally to the class, so that

final injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

whole.” Fed. R. Civ. P. 23(b)(2).

       Defendants’ challenged conduct “was directed at all members of the proposed settlement

class.” Meredith Corp., 87 F. Supp. 3d at 660. “This lawsuit is being driven largely by Plaintiffs’

desire to obtain class-wide injunctive relief.” Charron v. Pinnacle Group N.Y. LLC, 269 F.R.D.

221, 237 (S.D.N.Y. 2010). Namely, Plaintiffs have alleged that the trademark “Babyganics” which

is found on all of Defendants’ Products, is misleading. “[T]he contemplated settlement provides

the future conduct relief necessary to protect all members of the proposed settlement class.”

Meredith Corp., 87 F. Supp. 3d at 660. First, Defendants have agreed to change their labels to

provide clarity as to “which ingredients are organic and which are not.” (Amended Settlement

Agreement § IV.D.1.) Second, Defendants have agreed to remove the term “natural” from their

Products’ labels and the phrase “Plant-Based Ingredients” from a subset of those products. (Id. §

IV.D.6.) Third, Defendants will provide additional warnings on their Bath Products regarding



                                                 31
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 39 of 44



application of those products to the eye. (Id. § IV.D.5.) Fourth, Defendants will more accurately

define the term “mineral based” on its website, so consumers understand that Defendants’

sunscreens include both mineral and non-mineral barriers. (Id. at § IV.D.3.) Moreover, Defendants

will provide a link to that website on its Sunscreen labels. (Id.) Fifth, Defendants will be required

to perform quality control testing on its sunscreens at defined intervals to ensure they have a

minimum SPF of 50. (Id. at § IV.D.4.) This relief directly remedies Plaintiffs’ chief concern that

Defendants’ labeling is false and deceptive, and it protects the Settlement Class Members from

future harm. Moreover, the injunctive relief is being offered in conjunction with monetary relief

that will fully compensate the Settlement Class Members. See supra Section IV.

VI.    THE CLASS NOTICE SATISFIES THE REQUIREMENTS OF FEDERAL RULE
       OF CIVIL PROCEDURE 23 AND OF DUE PROCESS

       As Plaintiffs detail below, the Notice Plan meets the requirements of the Federal Rules of

Civil Procedure and of due process under the U.S. Constitution.

       A.      The Distribution and Timing of the Notice Satisfy Federal Rule of Civil
               Procedure 23 and the U.S. Constitution

       The threshold requirement concerning class notice is that the means employed to distribute

the notice must be reasonably calculated to apprise the class of the pendency of the action, of the

proposed settlement, and of the class members’ rights to opt out or object. See Phillips Petroleum

Co. v. Shutts, 472 U.S. 797, 811-12 (1985); Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S.

306, 314 (1950); Hecht v. United Collection Bureau, Inc., 691 F.3d 218, 224 (2d Cir. 2012) (“To

comport with due process, the notice provided to absent class members must be the best

practicable, reasonably calculated, under all the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections.” (citation and

internal quotation marks omitted)); see also FED. R. CIV. P. 23(e)(1) (“The court must direct

notice in a reasonable manner to all class members who would be bound by the [proposed


                                                 32
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 40 of 44



judgment].”). The due process requirements of the U.S. Constitution may be satisfied by sending

a copy of the notice by first class mail to each class member whose address can be located with

reasonable effort, along with publication notice. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173-

77 (1974).

       Because Plaintiffs seek final certification of the Settlement Class under Rule 23(b)(3), the

notice must be the “best notice practicable under the circumstances, including individual notice to

all members who can be identified through reasonable effort.” FED. R CIV. P. 23(c)(2)(B). “The

Second Circuit has stated that ‘Rule 23 . . . accords considerable discretion to a district court in

fashioning notice to a class.’” In re Scotts EZ Seed Litig., No. 12 CV 4727 VB, 2015 U.S. Dist.

LEXIS 127844, at *3 (S.D.N.Y. July 7, 2015) (quoting In re Agent Orange Prod. Liab. Litig. MDL

No. 381, 818 F.2d 145, 168 (2d Cir. 1987)).

       Dissemination of class notice based on Defendants’ customer data plus distribution via

Internet websites and regional publication amply satisfies the procedural requirements for class

notice under Rules 23(c)(2) and (e)(1), as well as the constitutional requirements. As discussed

above (see supra Section III.B), in accordance with the Preliminary Approval Order, on July 31,

2018, Angeion provided notice to the Settlement Class Members by means of direct mailing and

email. (See Opinion and Order, Dkt. 116 p. 18; Weisbrot Decl. ¶ 6.) In addition, during the four-

week time period beginning on July 31, 2018, Angeion provided Internet banner notice that served

65,142,985 impressions. (Weisbrot Decl. ¶ 4.) The notice program incorporated publications of

the Short Form Notice in the California regional edition of USA Today on July 31, 2018 (Id. at ¶

5) Additionally, as the Preliminary Approval Order required, on July 31, 2018 Angeion published

the Settlement Website, which provided Settlement Class Members with, inter alia, access to key

case documents. (Opinion and Order, Dkt. 116 p. 18; Weisbrot Decl. ¶ 8.) Finally, in accordance




                                                33
          Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 41 of 44



with the Preliminary Approval Order, on July 31, 2018, Angeion set up, and it subsequently

maintained, a toll-free telephone number devoted to the case and available 24 hours a day, 7 days

a week, which provided Settlement-related information to the Settlement Class Members. (Opinion

and Order, Dkt. 116 p. 18; Weisbrot Decl. ¶ 11.)

       Timing of the notice was also sound. Settlement Class Members have approximately 90

days following publication of the class notice to submit Claims (see Weisbrot Decl. ¶ 13) and

approximately 70 days following publication of the class notice to determine whether to object to,

or opt out of, the Settlement (Opinion and Order, Dkt. 116 p. 21). These periods are longer than

those deemed adequate in other class action settlements. In re Marsh & McLennan Companies,

Inc. Sec. Litig., No. 04 CIV. 8144 (CM), 2009 U.S. Dist. LEXIS 120953, at *67 (S.D.N.Y. Dec.

23, 2009) (30 days between notice mailings and deadline to submit objections sufficient); see also

Miller v. Republic Nat. Life Ins. Co., 559 F.2d 426, 430 (5th Cir. 1977) (four weeks between notice

mailings and settlement hearing sufficient); Grunin v. Int’l House of Pancakes, 513 F.2d 114,

121 (8th Cir. 1975) (19 days); Greenspun v. Bogan, 492 F.2d 375, 378 (1st Cir. 1974) (four

weeks).

       This vigorous notice program resulted in 65,142,985 impressions via the banner ad, 25,979

emails directly to consumers, and 13 mailed Notice Forms, and resulted in no opt outs or

objections. (Weisbrot Decl. ¶¶ 4,6, 14.) The Federal Judicial Center Judge’s Class Action Notice

and Claims Process Checklist and Plain Language Guide instructs judges evaluating notice prior

to final settlement to look for evidence that the notice plan reached class members as well as

anticipated and to review the number and nature of opt outs and objections. (The Federal Judicial

Center Judge’s Class Action Notice and Claims Process Checklist and Plain Language Guide, at




                                                34
         Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 42 of 44



p. 7.) Based on the number of impressions created and the absence of objections or opt-outs, the

notice plan satisfies those requirements.

        B.      The Content of the Notice and the Opportunity to Opt Out Satisfy Federal
                Rule of Civil Procedure 23 and the U.S. Constitution

        “The standard for the adequacy of a settlement notice in a class action under either the Due

Process Clause or the Federal Rules is measured by reasonableness.” Visa, 396 F.3d at 114. “There

are no rigid rules to determine whether a settlement notice to the class satisfies constitutional or

Rule 23(e) requirements; the settlement notice must ‘fairly apprise the prospective members of the

class of the terms of the proposed settlement and of the options that are open to them in connection

with the proceedings.’” Id. at 114. “Notice is ‘adequate if it may be understood by the average

class member.’” Id. Under Rule 23(c)(2)(B), “[t]he notice must clearly and concisely state in plain,

easily understood language: (i) the nature of the action; (ii) the definition of the class certified; (iii)

the class claims, issues, or defenses; (iv) that a class member may enter an appearance through an

attorney if the member so desires; (v) that the court will exclude from the class any member who

requests exclusion; (vi) the time and manner for requesting exclusion; and (vii) the binding effect

of a class judgment on members under Rule 23(c)(3).” Fed. R. Civ. P. 23(c)(2)(B).

        Here, the Settlement Notice more than satisfies these standards. The Short-Form Notice

contained a summary of the Action and the Settlement and informed Settlement Class Members

(i) that they must file a claim to receive a Settlement payment; (ii) of their right to object to the

proposed Settlement and the date by which they must do so; (iii) of their right to exclude

themselves if they do not want to be bound by the proposed Settlement and the date by which they

must do so; and (iv) that the Settlement will bind all Settlement Class Members who do not request

exclusion. (Weisbrot Decl., Ex. 1.) The Short-Form also directed recipients to the dedicated




                                                    35
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 43 of 44



Settlement Website, where additional information with respect to the Action is posted, including

the more detailed Long-Form Notice. (See id.)

       The Long-Form Notice includes a description of the terms of the Settlement (including

notice of the opportunity to opt out or object, a short and plain statement of the background of the

Action, an explanation of the reasons for the Settlement, and notice of the amount of Class

Counsel’s Attorneys’ Fees and Expenses to be submitted for approval by the Court). (Weisbrot

Decl. Ex. 3.). The Long-Form Notice advises Settlement Class Members that they will be bound

by the judgment and orders of the Court if they do not request exclusion by October 10, 2018, and

that any Settlement Class Member may enter an appearance. (See id.) The Long-Form Notice

advises that the Court will conduct a Fairness Hearing on November 14, 2018, at 10:30 a.m., at

which time Settlement Class Members may be heard, and it states the benefits of the Settlement.

(See id.) If there are any remaining questions, the Long-Form Notice contains the toll-free number

and an email address for Angeion. (See id.)

       Additionally, Plaintiffs amended the Long-Form Notice as instructed by the Court in the

Preliminary Approval Order (Order, Dkt. 116, pp. 19-20), and made changes to the Short-Form

Notice, which were approved by the Court. (Dkt. 117.) The changes made it clear that the

Settlement covers all Babyganics Products marketed and sold in the United States During the Class

Period and that the Settlement covers claims raised in the “plant-based,” tear-free,” and “SPF 50+”

litigation Unquestionably, the class notice was adequate, comprehensive, and timely, and it

provides Settlement Class Members with sufficient information to make an informed and

intelligent decision with respect to whether to participate in the Settlement.

VII.   CONCLUSION

       For all of the foregoing reasons, Plaintiffs respectfully apply to this Court for entry of an

order (i) confirming certification of the Settlement Class and continuing the appointment of Tanya


                                                 36
        Case 7:16-cv-06981-VB Document 131 Filed 09/26/18 Page 44 of 44



Mayhew, Tanveer Alibhai, and Tara Festa as representatives of the Settlement Class and Cuneo

Gilbert & LaDuca, LLP, Halunen Law, and The Sultzer Law Group as Class Counsel; (ii) granting

Final Approval of the Settlement; and (iii) entering the Order and Final Judgment in this Action.



Dated: September 26, 2018                               CUNEO GILBERT & LADUCA, LLP

                                                        By:    s/ Charles J. LaDuca

                                                           Charles J. LaDuca (Bar ID # 3975927)
                                                                             Katherine Van Dyck
                                                            4725 Wisconsin Ave. NW, Suite 200
                                                                          Washington, DC 20016
                                                                             Tel: (202) 789-3960
                                                                            Fax: (202) 789-1813
                                                                         charlesl@cuneolaw.com
                                                                       kvandyck@cuneolaw.com

                                                              THE SULTZER LAW GROUP P.C.
                                                               Jason P. Sultzer (Bar ID #: JS4546)
                                                                  85 Civic Center Plaza, Suite 104
                                                                         Poughkeepsie, NY 12601
                                                                              Tel: (845) 483-7100
                                                                              Fax: (888) 749-7747
                                                                 sultzerj@thesultzerlawgroup.com

                                                                                HALUNEN LAW
                                                                                    Amy E. Boyle
                                                                                 1650 IDS Center
                                                                             80 South Eight Street
                                                                          Minneapolis, MN 55402
                                                                       Telephone: (612) 605-4098
                                                                        Facsimile: (612) 605-4099
                                                                         Boyle@halunenlaw.com




                                               37
